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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF CONNECTICUT

-------------------------------- x
MARTIN J. WALSH, SECRETARY OF    :
LABOR, UNITED STATES DEPARTMENT  :
OF LABOR,                        :
                                 :
          Plaintiff,             :
                                 :
v.                               :      Civil No. 3:18-cv-711 (AWT)
                                 :
CARE AT HOME, LLC, DANIEL KARP, :
and SUZANNE KARP,                :
                                 :
          Defendant.             :
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               ORDER FINDING DEFENDANTS IN CONTEMPT

     As discussed today during the hearing on the Order to Show

Cause (ECF No. 146), the court finds that defendants Care at

Home, LLC, and Daniel Karp are in civil contempt for violating

this court’s orders. Starting September 10, 2021, these

defendants shall pay a daily fine at the rate of $100 per

business day until they are no longer in contempt or until

further order of the court.

     In addition, a hearing will be held on Friday, September

17, at 12:00 p.m. in the South Courtroom, United States District

Court, 450 Main St., Hartford, CT, to discuss whether further

sanctions are necessary in order to make these defendants comply

with the court’s orders. Care at Home, LLC, Daniel Karp, and

their counsel must appear in person. At least one attorney for

the plaintiff must appear in person, but the court will permit


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the others to appear via Zoom.

     It is so ordered.

     Dated this 9th day of September 2021, at Hartford,

Connecticut.



                                                  /s/AWT
                                             Alvin W. Thompson
                                        United States District Judge




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